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Court

   

County J€HEVS°"‘

 

 

 

PLA| NTIFF
Cher|ee Tinsiey Stewett
VS.
DEFENDANT
Abso, lnc

Servioe of Process Agent for Defendant:
Kentucky |_enders Aeeietence, |no.

 

l '-'»...\.J'

828 Lene Ailen Roed_, Suite 219
Le)<ington Kentuc,i<y 40504

THE COMMONWEALTH OF KENTUCK`¥
TO THE ABOVE-NAMED DEFENDANT(S):

 

 

 

Vou are hereby notitied a legal action has been filed against you in this Court demanding relief es shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attomey on
your behalf within 20 days following the day this paper is delivered to you, judgment by default may be taken against you
for the relief demanded in the attached Compleint.

The name(s) end addre$e(es.) of the party or parties demanding relief agei u ere ehown on the document
delivered to you with this Summone_

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Date: _ 4 eis 33 . 2 " ‘- l ‘» 1 LAA}J‘$%W \_ C|erl<
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Proof of Service
Thie Summone was served by delivering a true copy and the Comp|eint (or other initiating document) to:

 

this day of 2
Served by;

 

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CIVIL ACTIGN NO. JEFFERSON CIRCUIT COURT

 

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DIVISION _,` § (
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HON. ‘“§ eil-\'€"""‘ !~?’
CHARLES T]NSLEY STEWART ' PLA]NT]FF
vs. VER_IFIED COMPLAINT
ABSO, ]NC.

Sewe: Kentucky Lenders Assistance, lnc.
828 Lane Allen Road
Suite 219
Lexington, Kentucky 405 04

and
RHON'DA CRAVEN
Setve; By Kentucky Secretary of State
Rhonda Craveu
3009 Douglas Boulevard
Roseville, Calit`ornia 95661
and
HOSPARUS, ]INC.

fonnerly and also known as
ALLIANCE OF COMMUNITY HOSPICES & PALLATIVE CARE SERVICE

Serve: Phillip Ma.rshall, Reg,istered Agent
3532 Ephraim McDowell Dr:'rve
Louisvi]le, Kentucky 40205-3224

and
IOSEPH ROTELLA, M.D.
Serve: Joseph Rotella, M.D.
3532 Ephraim MoDowcll Drive

l.ouisville, Kentucky 40205-3224 DEFENDANTS

 

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l i/i iii LENDERo AS;[ST NO|MM p_ 0
Plaintiff, Charles Ti_nsley Stewart, states as follows for his Verihed Cornplaint:

1. Plaintiff brings this action,seeking compensatory damages for monng
interference with a business expectation defamation7 and violations of the Fair Credit Reporl:ing

Aot (15 U.S.C. § 1681).
2. Plaintiff is a resident of chferson County, Kenmcky.

3. Det`endant ABSO, Ine., is a Ca]ifoniia corporation and it is registered as a foreign
corporation with the Kentucky Seoretax'y of State. lt has an oflice in Louisville, .Tet`ferson
County, Kentucky, and it conducts substantial business within the Comrnonweaith of Kentuclcy
and Jeft`erson County. At all times relevant to PlaintifF s claims herein, ABSO, [nc. was engaged
in the business of conducting background checks for Defendant Hospazus, lnc.

4. Defendant Rhonda Craven Was, at all times relevant to Plaintiff’ s claims herein,
an agent of ABSO, Inc., or, in the alternative she was acting outside the scope of her
employment when she did engage in acts, or did fail to take action, which caused injury to the
Plaintiff. lt is not known whether Rhonda Craven is a resident of the State of California or the
Cornrnonwealth of Kentueky.

5. Defcndant Hospams,` lnc., is a Kentuclcy non-profit corporation and it is registered
with the Kentucky Secretary of State. lt has an office in Louisville, letteran County, Kentuoky,
and it conducts substantial business within the Commonwealth of Kentuck'y and Jefferson
County. At all times relevant to Plaintiti’s`claims herein, .ABSO, Inc. was engaged in the
business of conducting background checks for Defendant 1l'losp.'=u'us, lnc.

6. Defendant .ioseph Rotella, M.D. was, at all times relevant to Plaintit`t’s claims
herein, an agent of Hosparus, lno., or, in the alternative he was acting outside the scope of his

employment when he did engage in acts, or did fail to take action, which caused injury to the

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Plaintitf. losef;)h Rotella, M.D. is a resident of the Commonwealth of Kentuclcy.

7 . Plaintiff was seeking employment with Alliance of Cornmunity Hospiees &
Palliative Care ServicefDefendant Hosparus, lnc\ in lefferson County, Kentucl~:y. ABSO, luc.
and/or Rlionda Craven did publishing false information to Alliance of Cominunity Hospices &
Pall.iative Care Service/Defendant Hosparus, lnc. and/or loseph Rotella, M.D.

8. The Defendants ABSO, lnc. and/or Rhonda Craven did wrongfully interfere with
the business expectation of the Plaintiffby publishing false information T_his wrongful
interference was reckless, or motivated by either ill will or a desire to do injury to the Plaintitf.

9. "l`he Defendants, individually, and/or collectively, did publish a false and
defamatory statement, or did publish false and defamatory statements, about the Plaintiff, and did
thereby cause injury to the Plaintiff.

lO. T he Defendants, individually, and/or collectively, did not exercise ordinary care to
determine whether this false and defamatory statement, or statements was, or were, true or false

ll. Plaintiff has suffered, and is reasonably certain to suffer in the future as a direct
result of the statement(s) having been made

12. Plaintiff is entitled to an award of monetary damages in an amount that will fairly
and reasonably compensate him for whatever damage that he has sustained or is reasonably
certain to endure hereafter as a result of the publication of the false and defamatory statement or

statements, and his other losses.

13. T_he Defendants’ actions, and failure to take action, --individually, and/or
collectively were intended to injure the Plaintiff, or were with flagrant indifference to the rights
of the Plaintiff and with subjective awareness that such treatment would harm the Plaiutift`, and

said mistreatment was specifically intended to subject Plaintiff to cruel and unjust hardship

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14, Aa a result of the publieation of the false and defamatory statement or statements,
Alliance of Community Hospices & Palliative Care Sendce/Defendant Hosparus, hie. and/or
Ioaeph Rotella, M.D. decided, wrc>rigfullj,/J not to hire the PlaintiE for a job for which he was

well qualified

15. Plaintiff has suffered damages in an amount sufficient to invoke the legal and
equitable jurisdiction of the Jefl`erson Cireuit Court.

WHEREFORE, Plai.ntiff demands:

A. Judgment granting Plaintiff an award of compensatory and punitive damages, in
an amount to be proven at trial;

B. Reir`nbursement for Plaintiff‘s costs herein expended and an award of a reasonable
attomeys’ fees;

C. Trial byjury; and

D. Such other relief to which Plaintiff may appear entitled

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V_ERIFICATION
I, Charles Tinsley Stewart, state that lam the Plaintiff in the foregoing Ven`fied

Complaint and that the statements and allegations contained herein are true to the best of my

knowleng and belief. % /W
/ z /{7,0¢//§\

Charles Tinsley Stevs:arut:?laintiff

STATE oF KENTUCKY )
)
COUNTY oF JEFFERSON )

Subseribed and sworn to before me by Cl;iar]es Tinsley Stewart, on this ?,€)'F¢L day of

Aprn,zooa.
22 @C“Lec)~er 1053

NOTARY P ' L C,
STATE-AT~ E

My commission expires:

Respeotfully ;subxnitted,

sTEwART,` RoELANDT, SToESS,
cRAiGM§;LE, & EMERY, PLLC

/,_
/ .
C@/ /
3/

JOHN FRI'I;’H`STEWART
ASHLE`Y AHRE S FLYNN
STEP‘HEN._(§. E l RY
6506 W. Hwy¢`i`z
P.O. Box 307
Crestwood, KY 40014
Teleph_one: 5 02/241~4660

Facsimile: 502/241-9301

COUNSEL FOR PLAINTIFF

